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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE No. 24-CR-20398-RUIZ/LOUIS

  UNITED STATES OF AMERICA

  v.

  FEDERICO NANNINI
  MAURO NANNINI
  ALEJANDRO THERMIOTIS
  ______________________________/

             DEFENDANTS’ JOINT NOTICE OF STIPULATED RESTITUTION

         Defendants Federico Nannini, Mauro Nannini, and Alejandro Thermiotis jointly submit
  this notice to inform the Court that they have reached an agreement with Global Consulting Firm
  1 regarding restitution. The Defendants have agreed to each pay Global Consulting Firm 1
  $153,706.70, for a total restitution payment of $461,120.10. Federico Nannini has agreed to pay
  an additional $18,880.05, which represents a return of some of his salary and a bonus he received
  while employed at Global Consulting Firm 1.


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                                                             /s/ Howard Srebnick
         /s/ Michael B. Nadler                               HOWARD SREBNICK
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                                                             /s/ Jeanelle Gomez
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